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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:19-CR-00249-DAD-BAM
12                                 Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                          CONFERENCE AND ORDER
13                           v.
14   GLORIA DEAN,                                         Date: June 8, 2020
     ASHLEY HILL,                                         Time: 1:00 p.m.
15                                                        Honorable Barbara A. McAuliffe
                                   Defendants.
16

17
            The United States of America, by and through MCGREGOR W. SCOTT, United States
18
     Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by
19
     and through their respective attorneys of record, hereby stipulate to continue the status conference in this
20
     case from June 8, 2020 until September 28, 2020 at 1:00 p.m.
21
            On May 13, 2020, this Court issued General Order 618, which suspends all jury trials in the
22
     Eastern District of California until further notice. This General Order was entered to address public
23
     health concerns related to COVID-19. Further, pursuant to General Order 611, this Court’s declaration
24
     of judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s Order of April
25
     16, 2020 continuing this Court’s judicial emergency, this Court has allowed district judges to continue
26
     all criminal matters to a date after May 1, 2021.1
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28          1
              A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
     request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
      STIPULATION TO CONTINUE STATUS CONFERENCE
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 1          Although the General Orders and declaration of emergency address the district-wide health
 2 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 3 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 4 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 5 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such

 6 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 7 (9th Cir. 2000) (explaining that a judge ordering and ends-of-justice continuance must set forth explicit

 8 findings on the record “either orally or in writing”).

 9          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory
10 and inexcusable—General Orders 6111, 612, 617, and 618 and the subsequent declaration of judicial

11 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

12 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

13 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. §

14 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of the

15 case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

16 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

17          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”
18 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

19 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

20 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

21 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

22 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

23 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

24 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

25 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

26 by the statutory rules.
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     will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
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 1          In light of the societal context created by the foregoing, this Court should consider the following
 2 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 3 justice exception, § 3161(h)(7) (Local Code T4).2 If continued, this Court should designate a new date

 4 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 5 pretrial continuance must be “specifically limited in time”).

 6          The parties request that time be excluded between June 8, 2020 and September 28, 2020 for the
 7 following reasons: defense require additional time to consult with their clients, to review the current

 8 charges, to conduct investigation and research related to the charges, to review and copy discovery for

 9 this matter, to discuss potential resolutions with his/her client, to prepare pretrial motions, and to

10 otherwise prepare for trial. Defense investigation has been slowed by the inability to review discovery

11 with their clients and communication has been hampered given the conditions at the jail. The case

12 involves several seizures, approximately 10,800 pages of discovery, and discovery in the form of several

13 gigabytes.    The proposed status conference date represents the earliest date that all counsel are
14 available thereafter, taking into account counsels’ schedules, defense counsels’ commitments to other

15 clients, and the need for preparation in the case and further investigation. In addition, the public health

16 concerns cited by General Order 611, 612, 617, and 618 and the judicial declaration of emergency and

17 presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in this case

18 because counsel or other relevant individuals have been encouraged to telework and minimize personal

19 contact to the greatest extent possible.

20          The parties further believe that time should be excluded, in that failure to grant the requested
21 case schedule would unreasonably deny the defendants continuity of counsel, and unreasonably deny

22 both the defendants and the government the reasonable time necessary for effective preparation, taking

23 into account the parties’ due diligence in prosecuting this case. 18 U.S.C. Section 3161(h)(7)(B)(iv).

24 Based on the above-stated findings, the ends of justice served by the schedule as requested outweigh the

25 interest of the public and the defendant in a trial within the original date prescribed by the Speedy Trial

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            2
            The parties note that General Order 612 acknowledges that a district judge may make
27 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1 Act. Therefore, the parties request that the Court exclude the time until the new hearing date from

 2 calculations under the Speedy Trial Act.

 3    Dated: May 27, 2020                                      MCGREGOR W. SCOTT
                                                               United States Attorney
 4

 5                                                             /s/ Kathleen A. Servatius
                                                               KATHLEEN A. SERVATIUS
 6                                                             Assistant United States Attorney

 7
     Dated: May 27, 2020                                   /s/ Charles Lee
 8                                                         Attorney for Defendant Ashley Hill

 9 Dated: April 26, 2020                                   /s/ Peter Jones
                                                           Attorney for Defendant Gloria Dean
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11

12
                                                       ORDER
13
            IT IS HEREBY ORDERED that the status conference in this case be continued from June 8,
14
     2020 until September 28, 2020 at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe.
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            IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as
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     requested outweigh the interest of the public and the defendants in a trial within the original date
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     prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of
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     computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must
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     commence, the time period of June 8, 2020 and September 28, 2020, inclusive, is deemed excludable
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     pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court
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     at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such
22
     action outweigh the best interest of the public and the defendant in a speedy trial.
23
     IT IS SO ORDERED.
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25      Dated:     May 27, 2020                                  /s/ Barbara A. McAuliffe             _
                                                        UNITED STATES MAGISTRATE JUDGE
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      STIPULATION TO CONTINUE STATUS CONFERENCE
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